
PER CURIAM.
LaRue Distributing Inc., (“LaRue”), a Nebraska coffee distributor, appeals an order denying its motion to dismiss for lack of personal jurisdiction. We reverse based upon our conclusion that LaRue’s connections with the State of Florida do not constitute sufficient minimum contacts to establish jurisdiction. See Marsh Supermarkets, Inc. v. The Queen’s Flowers Corp., 696 So.2d 1207 (Fla. 3d DCA 1997). Accordingly, the order below is reversed with directions to dismiss the complaint without prejudice to the appel-lee to refile in an appropriate jurisdiction.
Reversed and remanded with directions.
